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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                               READING DIVISION


IN RE: JON MARKLEY                           )
       CAROL MARKLEY                         )     CHAPTER 13
         Debtor(s)                           )
                                             )     CASE NO. 16-18228-REF
CREDIT ACCEPTANCE CORPORATION                )
        Moving Party                         )     11 U.S.C. 362
                                             )
     v.                                      )     HEARING DATE: 5-9-19 at 9:30 AM
                                             )
JON MARKLEY                                  )
CAROL MARKLEY                                )
       Respondent(s)                         )
                                             )
SCOTT WATERMAN                               )
       Trustee

      NOTICE OF MOTION, RESPONSE DEADLINE, AND HEARING DATE

     Credit Acceptance Corporation has re-listed for a hearing a Motion For Relief From The
    Automatic Stay with the Court for relief from the automatic stay of 11 U.S.C. 362.

      Your rights may be affected. You should read these papers carefully and discuss
    them with your attorney, if you have one in this bankruptcy case. (If you do not have
    an attorney, you may wish to consult an attorney.)

            1. If you do not want the court to grant the relief sought in the motion or if you
    want the court to consider you views on the motion, then on or before May 1, 2019 you or
    your attorney must do all of the following:

                    (a) file an answer explaining your position at:
                                United States Bankruptcy Court
                                    The Madison Building
                                    400 Washington Street
                                      Reading, PA 19601

     If you mail an answer to the bankruptcy clerk’s office for filing, you must mail it
    early enough so that it will be received on or before the date stated above; and

                    (b) mail a copy to the movant’s attorney:
                           Morton & Craig LLC
                           Attn.: William E. Craig, Esquire
                           110 Marter Avenue, Suite 301
                           Moorestown, NJ 08057




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            2. If you or your attorney do not take the steps described in paragraphs 1(a) and
     1(b) above and attend the hearing, the court may enter an order granting the relief
     requested in the motion.

            3. A hearing on the motion is scheduled to be held before the Honorable
     Richard E. Fehling on May 9, 2019 at 9:30 am in Courtroom number 1, United States
     Bankruptcy Court, The Madison Building, 400 Washington Street, Reading, PA 19601.

             4. If a copy of the motion is not enclosed, a copy of the motion will be provided
     to you if you request a copy from the attorney named in paragraph 1(b).

           5. You may contact the Bankruptcy Clerk’s office at 610-208-5040 to find out
     whether the hearing has been canceled because no one filed an answer.


     Date: 4/16/19
                                   /s/ William E. Craig
                                   William E. Craig, Esquire
                                   Morton & Craig LLC
                                   Attorney for Credit Acceptance Corporation




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